       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 1 of 63




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

MALIBU MEDIA, LLC,
              Plaintiff,
                                                  CIVIL ACTION NO. 5-19-CV-00834-DAE
              vs.


JOHN DOE,
              Defendant.

                              DECLARATION OF JT MORRIS
       I, JT Morris, declare pursuant to 28 U.S.C. § 1746 that the following statements are true

and correct based on my personal knowledge:

   1. I am over the age of 18, I have never been convicted of a felony, and I am of sound mind.

   2. I ·am lead counsel for Defendant John Doe. The sole purpose of this affidavit is to submit

       documentary evidence and procedural background in support of Doe's motion to compel.

   3. Attached as Exhibit A is a true and correct copy of Doe's first requests for production

       served on Plaintiff Malibu Media, LLC ("Malibu") on April 9, 2020.

   4. Attached as Exhibit Bis a true and correct copy of Doe's first interrogatories served on

       Malibu on April 9, 2020.

   5. Attached as Exhibit C is a true and correct copy of an email exchange between me and

       Malibu's counsel Paul Beik agreeing to an extension of time for Malibu to answer Doe's

       first requests for production and interrogatories.

   6. Attached as Exhibit D is a true and correct copy of an email from Mr. Beik to me

       confirming a telephone call in which the parties agreed for another extension of time for

       Malibu to answer Doe's first requests for production and interrogatories.
    Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 2 of 63




7. Attached as Exhibit Eis a true and correct copy of Malibu's response to Doe's first

   requests for production.

8. Attached as Exhibit Fis a true and correct copy of Malibu's.response to Doe's first

   interrogatories.

9. Attached as Exhibit G is a true and correct copy of a June 4, 2020 letter to Mr. Beik from

   my colleague Ramzi Khazen, who is also an attorney for Doe, raising various problem

   with Malibu's discovery responses.

10. On June 24, 2020, Mr. Khazen and I conferred with Mr. Beik about Malibu's discovery

   responses, including those issues raised in Mr. Khazen's letter. During the call, Mr. Beik

   said that he was unable to get information from IPP, which he believed was because of

   the COVID pandemic. He also said that Malibu was in a dispute with its former general

   counsel who is withholding documents from Malibu.

11. Still, Mr. Beik agreed to supplement at least some of Malibu's responses by July 2, 2020.

   To date, we have not received any supplement to Malibu's discovery responses.



I declare under the penalty of perjury of the laws of the United States that the foregoing is

true and correct.

Executed on July 17, 2020

                                                                          -------::::?
                                                  JT Morris




                                              2
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 3 of 63

                                                                                             Exhibit A

                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION



MALIBU MEDIA, LLC,
Plaintiff,                                          CIVIL ACTION NO. 5-19-CV-00834-DAE

vs.

JOHN DOE,
Defendant.




 DEFENDANT JOHN DOE’S FIRST REQUESTS FOR PRODUCTION TO PLAINTIFF

        Pursuant to Fed. R. Civ. R. 26 and 34 and the Local Rules of this Court, Defendant John

Doe hereby serves the following requests for production to Plaintiff Malibu Media, LLC.

Defendant requests Plaintiff serve its responses and produce responsive documents within thirty

(30) days of service of these requests.


                                          INSTRUCTIONS

        1.     These requests apply to all responsive information in the possession, custody, or

control of Plaintiff, its attorneys, investigators, agents, employees, or its other representatives.

        2.     Where a discovery request calls for an answer that involves more than one part,

each part of the answer should be clearly set out so that it is understandable.

        3.     The term “document” as used herein is defined to include any and all documents in

Plaintiff’s possession, custody, or control. It includes documents store physically and documents

and other information stored electronically, and includes material that is written, typed, printed,

reproduced, filmed or recorded material, and all photographs, pictures, plans, or other


                                               1
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 4 of 63




representations of any kind or anything pertaining, describing, referring, or relating directly or

indirectly, in whole or in part, to the subject matter of each paragraph of these Requests, and the

term includes, without limitation:

       •       papers, emails, books, journals, ledgers, statements, memoranda, reports, invoices,

work sheets, work papers, notes, transcriptions of notes, letters, correspondence, abstracts, checks,

diagrams, plans, blueprints, specifications, pictures, drawings, films, photographs, graphic

representations, diaries, calendars, desk calendars, pocket calendars, lists, logs, publications,

advertisements, instructions, minutes, orders, purchase orders, messages, résumés, summaries,

agreements, contracts, telegrams, telexes, cables, recordings, audio tapes, magnetic tapes, visual

tapes, transcriptions of tapes or recordings, computer tapes or any other writings or tangible things

on which any handwriting, typing, printing, photostatic, or other forms of communications or

information are recorded or reproduced, as well as all notations on the foregoing;

       •       original and all other copies not absolutely identical; and

       •       all drafts and notes (whether typed, handwritten or otherwise) made or prepared in

connection with such documents, whether used or not.

       4.      All responsive documents that are electronically stored should be produced in

reasonably useable format and should be reasonably searchable unless not possible.

       5.      If any document responsive to these requests has been destroyed, you are requested

to describe in detail the circumstances of and reasons for such destruction and to produce all

documents that relate either the circumstances or the reasons for such destruction.

       DEFINITIONS

       1.       “Malibu,” “Plaintiff,” “You” and “Your” separately or collectively refers to

Malibu Media, LLC (d/b/a “X-Art.com”) and all past and present officers or owners (including


                                              2
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 5 of 63




Colette Pelissier and Brigham Feld), directors, affiliates, brokers, agents (including, without

limitation, IPP International UG, Computer Forensics, LLC, or any other person or entity engaged

by Malibu to detect or gather evidence regarding alleged infringement), representatives, trustees,

employees, servants, and all persons acting directly or indirectly under their control, including any

attorney and including respective parents, subsidiaries, or affiliated companies, and other related

entities, including all assets or companies that Malibu has acquired or with respect to which has

succeeded to rights or obligations.

       2.      “Defendant” or “Doe” means John Doe.

       3.      “Films” refers to the films listed in Exhibit B to Plaintiff’s Complaint.

       4.       “Copyrights In Suit” refers to all alleged copyrights Plaintiff asserts in this

litigation and the respective underlying works, including the alleged copyrights Plaintiff lists in

Exhibit B of Plaintiff’s Complaint.

       5.      The word “person” or “persons” means all entities of every type and description,

including, without limiting the generality of the foregoing, all natural persons, association,

companies, partnerships, joint ventures, corporations, trusts, estates, and federal, state, and

municipal or local governmental agencies and entities and their subdivisions, bureaus,

departments, and boards.

       6.      “Relating to” and “relative to” mean and include discussing, describing, referring

to, reflecting, containing, analyzing, studying, reporting on, commenting on, demonstrating,

evidencing, constituting, setting forth, considering, recommending, concerning, or pertaining to ,

in whole or in part.

       7.      “Concerning” and “regarding” mean and include with respect to, referring to,

relating to, purporting, embodying, establishing, demonstrating, evidencing, comprising,



                                              3
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 6 of 63




connected with, commenting on, responding to, showing, describing, analyzing, reflecting,

indicating, presenting, or constituting.

       8.      “Including” means including but limited to.

       9.      “Identify” or “identity” means to provide details regarding, when applicable, a

person’s name, affiliation, and other information sufficient to fully identify an individual; relevant

dates, times, locations, speakers or attendees, and other information sufficient to identify an event,

occurrence, or communications; and relevant document names, dates, authors, custodian, and other

information sufficient to identify a document.

       10.     No answer is to be left blank. If the answer to a discovery request or its subpart is

“none,” the word “none” or “unknown” must be written in the answer. If the answer to the whole

of a question is not known, so state, and answer the part known. If the answer to a question or a

part thereof is only partly known, provide all responsive information known and specify wherein

your answer is or may not be complete due to your lack of knowledge. If exact dates, amounts,

other figures or facts are not known, but you have information permitting you to make an

approximate or estimated answer, make such answer and indicate that it is an approximation or

estimate because more precise information is not known to you.

       11.     If any information required to answer any discovery request is withheld because

you claim that such information is privileged or is contained in a privileged document and/or

communication, identify the privilege being asserted, the names of the participants of each alleged

communication, state the basis upon which the privilege is claimed, identify each such document

and/or communication, the general subject matter of such privileged communication and the

portion of these requests to which each document or communication is responsive.




                                               4
          Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 7 of 63




       12.     These discovery requests are continuing in nature and require further and

supplemental responses whenever said responses become available or otherwise known to You.

These discovery requests are intended as continuing discovery requests, requiring you to answer

by supplemental answer, setting forth any information within the scope of the discovery requests

as may be acquired by you, your agents, attorneys, or representatives following your original

answer.



                               REQUESTS FOR PRODUCTION

REQUEST NO. 1: All documents concerning the registration of the Films with the United

States Copyright Office, including but not limited to any applications and deposits submitted to

the Copyright Office for the Films.

Response:



REQUEST NO. 2: All documents and communications concerning Your claim that that You are

the exclusive owner in any and all rights to the Films.

Response:



REQUEST NO. 3: All communications made over the past three years that You have sent to

any search engine or other internet service provider requesting removal of the Films on the basis

of copyright infringement or unauthorized display, distribution, reproduction, or other use.

Response:




                                              5
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 8 of 63




REQUEST NO. 4: All documents concerning Your identification of the IP address listed in

Exhibit A of Plaintiff’s Complaint as it relates to Plaintiff’s allegations of infringement.

Response:



REQUEST NO. 5: All documents and communications sufficient to show any and all income

You have received from selling copies of the Films over the past five (5) years.

Response:



REQUEST NO. 6: All documents and communications sufficient to show any and all income

You have received from licensing the Films over the past five (5) years.

Response:



REQUEST NO. 7: All documents and communications sufficient to show any and all income You

have received from subscriptions to any online service You provide or have provided over the past

five (5) years.

Response:



REQUEST NO. 8: All documents and communications sufficient to show any and all statistics

and other data related to the number of times paying subscribers or other authorized paid users of

Your website services have viewed the Films through your online services.

Response:




                                               6
         Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 9 of 63




REQUEST NO. 9: All documents and communications sufficient to show the annual income You

have received from cease-and-desist efforts, threatening lawsuits, and filing lawsuits, including

settlements, related to the Films and Your other copyrighted works over the past five (5) years.

Response:



REQUEST NO. 10: For each of the Copyright-in-Suit, documents and communications sufficient

to show any and all income You have received from cease-and-desist efforts, threatening lawsuits,

and filing lawsuits, including settlements, related to the Copyright-in-Suit over the past three (3)

years.

Response:




REQUEST NO. 11: All documents and communications related to any and all places You have

shared, displayed, distributed, sold, or offered for sale the Films and Your other copyrighted works

on any location, platform, media, or environment.

Response:



REQUEST NO. 12: All documents and communications relevant to any financial losses that You

claim resulted from any alleged infringement or impermissible use of the Films and Your other

copyrighted works.

Response:




                                              7
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 10 of 63




REQUEST NO. 13: All documents and communications relevant to any financial losses that You

claim resulted from Doe’s alleged infringement of the Films.

Response:



REQUEST NO. 14: All documents and communications relevant to any reputational losses or

loss of goodwill that You claim result from any alleged infringement or impermissible use of the

Films, including but not limited to Doe’s alleged infringement.

Response:



REQUEST NO. 15: All documents and communications relevant to Your discovery and

monitoring of online uses of the Films, including but not limited to Your use of software and/or

entities to monitor and discover online uses of the Films.

Response:



REQUEST NO. 16: All documents and communications relevant to any permission You have

granted to any individual or organization to use the Films without monetary compensation.

Response:



REQUEST NO. 17: All communications and documents relating to Your employment of or

contracting with individuals or entities to investigate, develop, implement, maintain, or consult on

the security of your websites.

Response:




                                              8
         Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 11 of 63




REQUEST NO. 18: All communications and documents relating to Your employment of or

contracting with individuals or entities to monitor, discover, investigate, or consult on any

unauthorized reproduction of hard copies or digital copies of the Films and Your other copyrighted

works.

Response:



REQUEST NO. 19: All communications and documents relating to Your employment of or

contracting with individuals or entities to create, develop, implement, maintain, or consult on any

technological securities, safeguards, protective measures, or mechanisms to identify, prevent,

discourage, cease, or curtail online infringement of the Films and Your other copyrighted works.

Response:



REQUEST NO. 20: All communications and documents relating to any efforts You have taken

to identify, prevent, discourage, cease, or curtail the online unauthorized reproduction of the Films

and Your other copyrighted works.

Response:



REQUEST NO. 21: All communications and documents relating to any media access control

(“MAC”) addresses related to the IP address 70.121.72.191.

Response:



                                              9
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 12 of 63




REQUEST NO. 22: All communications and documents relating to Your investigation of Doe

based on the IP address designated on Exhibit A of Plaintiff’s Complaint, including but not limited

to any investigation(s) performed by IPP International UG (“IPP”) or Computer Forensics, LLC.

Response:



REQUEST NO. 23: All documents and communications related to Your allegation that Defendant

willfully infringed the Copyrights-in-Suit.

Response:



REQUEST NO. 24: All communications and agreements with persons or entities having a

financial interest in the Copyrights-in-Suit, Films, or this litigation.

Response:



REQUEST NO. 25: All documents sufficent to show any display or direct or indirect distribution

of the Films.

Response:



REQUEST NO. 26: All documents and communications regarding any sale, offer for sale,

assignment, or licensing of the Copyrights-in-Suit

Response:




                                                10
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 13 of 63




REQUEST NO. 27: All documents and communications regarding any offer to purchase or

license the Copyrights-in-Suit

Response:




REQUEST NO. 28: All communications and agreements with any third parties involved in

investigating Your assertion of infringement against Doe, including but not limited to IPP and

Computer Forensics, LLC.

Response:



REQUEST NO. 29: All documents regarding Your dispute with Genova Capital and Warmblood

Inc.

Response:



REQUEST NO. 30: All communications with Genova Capital and Warmblood Inc. related to

Your enforcement of the Copyrights-in-Suit or any other copyrights.

Response:



REQUEST NO. 31: All documents that You claim evidence infringement by Doe or are otherwise

related to Doe’s alleged infringement.

Response:




                                           11
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 14 of 63




REQUEST NO. 32: All documents and communications related to IPP’s alleged interactions with

and investigation of IP address 70.121.72.191.

Response:



REQUEST NO. 32: All documents and communications regarding Computer Forensics, LLC’s

alleged interactions with and investigation of IP address 70.121.72.191.

Response:



REQUEST NO. 33: All documents and communications regarding any data or files Malibu, IPP,

Computer Forensics, or any other employee, agent, or affiliate of Malibu accessed or attempted to

access from any computer network, computer device, or computer system associated with IP

address 70.121.72.191.

Response:



REQUEST NO. 34: All documents and communications regarding Malibu’s decision to

investigate of IP address 70.121.72.191 for any alleged infringement of the Copyrights-in-Suit.

Response:



REQUEST NO. 35: All documents and communications between Malibu employees, staff, or

agents related to Malibu’s understanding of BitTorrent.

Response:




                                             12
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 15 of 63




REQUEST NO. 36: All documents and communications between Malibu and any third-party

consultant or independent contractor related to Malibu’s understanding of BitTorrent.

Response:



REQUEST NO. 37: All documents and communications between Malibu employees related to

the availability or other presence of the Films or other Malibu copyrighted works on BitTorrent.

Response:



REQUEST NO. 38: All documents and communications regarding Malibu’s decision to monitor

and investigate BitTorrent for infringing uses of the Films or other works Malibu purports to own.

Response:



REQUEST NO. 39: All communications between Malibu and any third-party consultant or

independent contractor related to the availability of the Films or other Malibu copyrighted works

on BitTorrent.

Response:



REQUEST NO. 40: All documents and communications describing Malibu’s understanding of

access to open, public, and/or unsecured wireless networks.

Response:




                                             13
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 16 of 63




REQUEST NO. 41: All documents and communications describing Malibu’s understanding of

access to closed, private, and/or secured wireless networks.

Response:



REQUEST NO. 42: All affidavits or sworn statements Malibu has submitted to a court of

competent jurisdiction in the past seven (7) years, and all communications related to the same.

Response:



REQUEST NO. 43: All documents and communications related to Malibu’s decision to retain,

hire, or contract with IPP for investigation of alleged infringements of Malibu’s works.

Response:



REQUEST NO. 44: All documents and communications related to Malibu’s decision to retain,

hire, or contract with Computer Forensics, LLC for investigation of alleged infringements of

Malibu’s works.

Response:



REQUEST NO. 45: All documents and communications sufficent to identify any third-party,

other than IPP or Computer Forensics, LLC, that Malibu retained, hired, or contracted with in the

past seven (7) years to monitor, discover, or investigate alleged infringements of Malibu’s works.

Response:




                                             14
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 17 of 63




REQUEST NO. 46: Documents and communications sufficent to identify any amounts Malibu

paid over the past five (5) years to IPP, Computer Forensics, LLC, or any other third-party that

Malibu retained, hired, or contracted with to monitor, discover, or investigate alleged

infringements of Malibu’s works.

Response:



REQUEST NO. 47: All documents and communications related to Malibu’s knowledge or

awareness of the accuracy or inaccuracy of using IP address-based methods to identify alleged

infringers.

Response:



REQUEST NO. 48: All documents and communications sufficent to show the corporate structure

of Malibu.

Response:



REQUEST NO. 49: All documents and communications sufficent to identify the officers and

employees of Malibu responsible for making decisions related to enforcement of Malibu’s

copyrights.

Response:




                                            15
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 18 of 63




REQUEST NO. 50: All documents and communications showing any policy, practice, or custom

You have implemented and maintained related to policing and preventing infringement of Your

copyrighted works online.

Response:



REQUEST NO. 51: All documents and communications identifying any policy, practice, or

custom You have implemented and maintained related to enforcing the Copyrights-in-Suit or other

copyrights You claim to own.

Response:



REQUEST NO. 52: All documents and communications identifying any and all times Malibu has

filed a lawsuit for copyright infringement against a John Doe defendant who Malibu learned it

mistakenly identified as the alleged infringer.

Response:



REQUEST NO. 53: All documents and communications referenced in any response You provide

to Defendant’s Interrogatories.

Response:



REQUEST NO. 54: All documents and communications that You intend to rely upon at trial to

support your allegations and claims.

Response:




                                              16
      Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 19 of 63




Dated: April 9, 2020                           By:

                                               /s/ JT Morris
                                               JT Morris
                                               Texas State Bar No. 24094444
                                               jt@jtmorrislaw.com
                                               Ramzi Khazen
                                               Texas State Bar No. 24040855
                                               ramzi@jtmorrislaw.com
                                               JT Morris Law, PLLC
                                               1105 Nueces Street, Suite B
                                               Austin, Texas 78701
                                               Tel: 512-717-5275
                                               Fax: 512-582-2948

                                               Attorneys for Defendant John Doe




                                   17
   Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 20 of 63




                                CERTIFICATE OF SERVICE

   I certify that on April 9, 2020, a true and correct copy of the foregoing was served by
email on Plaintiff’s counsel:
                          Paul Beik
                          paul@beiklaw.com


                                                  /s/ JT Morris
                                                JT Morris




                                         18
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 21 of 63
                                                                                    Exhibit B

                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

MALIBU MEDIA, LLC,

Plaintiff,
                                                   CIVIL ACTION NO. 5-19-CV-00834-DAE
vs.
                                                           JURY TRIAL DEMANDED
JOHN DOE,
Defendant.

                    JOHN DOE’S FIRST SET OF INTERROGATORIES


        Defendant John Doe, pursuant to Rules 26 and 33 of the Federal Rules of Civil

Procedure, serves the following First Set of Interrogatories on Plaintiff Malibu Media, LLC. A

written response to each interrogatory is due within thirty (30) days of service.

                            I. DEFINITIONS AND INSTRUCTIONS

        For the purpose of these Interrogatories, the following words and phrases have the

following meanings:

        1.     “Malibu,” “Plaintiff,” “You” and “Your” separately or collectively refers to

Malibu Media, LLC (d/b/a “X-Art.com”) all past and present officers or owners (including

Colette Pelissier and Brigham Feld), directors, affiliates, brokers, agents (including, without

limitation, IPP International UG, or any other person or entity engaged by Malibu to detect or

gather evidence regarding alleged infringement), representatives, trustees, employees, servants,

and all persons acting directly or indirectly under their control, including any attorney and

including respective parents, subsidiaries, or affiliated companies, and other related entities,

including all assets or companies that Malibu has acquired or with respect to which has

succeeded to rights or obligations.
          Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 22 of 63




           2.       “Doe” or “Defendant” refers to anonymous defendant John Doe. 1

           3.       “Person” refers to all natural persons, male or female, and all types and kinds of

business or other entities, including, but not limited to, corporations, partnerships, joint ventures,

associations and sole proprietorships and any reference to an individual person, either singularly

or as part of a defined group, includes that person’s employees, agents, legal representatives,

non-legal representatives, personal representatives, attorneys, heirs, successors, and assigns, and

includes any other person or entity acting on or for the behalf of such individual person.

           4.       Any matter involving a corporation or any other entity also refers to and includes

any and all parents, subsidiaries, predecessors, successors, affiliates, partners, joint venturers,

agents, employees, representatives, accountants, investment bankers, or attorneys acting on

behalf of the corporation or other entity.

           5.       The term “communication” means any contact, oral or documentary, formal or

informal, at any time or place and under any circumstances whatsoever whereby information of

any nature is transmitted or transferred, including but not limited to electronic Communications.

           6.       When an Interrogatory calls upon you to “state the basis” for a particular claim,

assertion, allegation or contention:

           (a) identify each and every document (and, where pertinent, the section, article or

                    subparagraph thereof) which forms any part of the source of your information

                    regarding the alleged facts or legal conclusions referred to by the Interrogatory;




1
    For readability, Defendant may be referred to using the terms “him,” “he,” or “his.” This is not intended to, and

does not, suggest anything about the identity or gender of Defendant.
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 23 of 63




       (b) identify each and every communication which forms any part of the source of your

               information regarding the alleged facts or legal conclusions referred to by the

               Interrogatory; and

       (c) state separately the acts or omissions to act on the part of any person (identifying the

               acts or omissions to act by stating their nature, time and place and identifying the

               persons involved) which form any part of your information regarding the alleged

               facts of legal conclusions referred to in the Interrogatory.

       7.      “Document” or “Documents” are used herein in their broadest sense as set forth in

the Federal Rules of Civil Procedure. These words mean and include all written, printed, typed,

recorded, or graphic matter of every kind and description, both originals and copies, and all

attachments and appendices, within your possession, custody, or control. Without limiting the

foregoing, the terms “Document” and “Documents” shall include all agreements, contracts,

communications, correspondence, letters, opinion letters, telegrams, telexes, telefaxes, messages,

memoranda, records, reports, books, summaries or other records of telephone conversations or

interviews, summaries or other records of personal conversations or interviews, minutes,

summaries, other records of meetings and conferences, statements obtained from witnesses,

summaries or other records of negotiations, other summaries, diaries, diary entries, calendars,

appointment books, time records, instructions, work assignments, forecasts, progress reports,

statistical data, statistical statements, financial statements, work sheets, work papers, drafts,

graphs, charts, tables, accounts, analytical records, consultants’ and experts’ reports, appraisals,

bulletins, notes, notices, marginal notations, notebooks, telephone records, bills, statements,

records of obligation and expenditure, invoices, lists, journals, printouts, compilations,

tabulations, analyses, studies, surveys, expense reports, microfilm, microfiche, tape or disc
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 24 of 63




recordings, sound recordings, video recordings, film, tape, photographs, programs, electronic

mail (“e-mail”) and data compilations from which information can be obtained (including matter

used in data processing), and other printed, written, handwritten, typewritten, recorded,

stenographic, computer-generated, computer-stored, or electronically stored matter, however and

by whomever produced, prepared, reproduced, disseminated, or made. The words “Document”

and “Documents” also include all copies of documents by whatever means made, except that

where a document is produced, identical copies of it that do not contain any markings, additions,

or deletions that are different from the original do not have to be separately produced.

       8.      “Including” means including, but not limited to.

       9.      “And” shall be treated as a synonym for “or” and vice versa.

       10.     “Identify” or “Identity” or “Identification” when used in reference to:

               (a)     a natural person, means: (1) the person’s full name or title, last known

       address, and telephone number; (2) the person’s present employer(s) and place(s) of

       employment; and (3) the person’s job title or position held.

               (b)     a document, means: (1) its date, author, and addressee(s); (2) the type of

       document (e.g., letter, memorandum, etc.); and (3) its present location and identity of its

       custodian.

               (c)     a statement, either written or spoken, means: (1) the substance of each

       such statement; (2) the exact words used by each person participating in the statement;

       (3) to identify each person engaging in the statement; (4) the identity of each person

       present at the making or reception of such statement; (5) the time and place of the

       statement; (6) the means of such statement (e.g., written, telephone, face-to-face, etc.).
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 25 of 63




        11.    All words in the conjunctive include the disjunctive and vice versa; words in the

singular include the plural and vice versa; the masculine gender of any word used herein includes

the feminine and the neuter. Such words should be interpreted to bring within the scope of the

discovery request information which might otherwise be construed to be outside its scope.

        12.    The past tense of a verb used herein includes the present tense and the present

tense includes the past tense.

        13.    If any information is withheld on the basis of a claim of privilege or work

product, then the answer shall generally identify the information withheld by subject matter,

author, addressees, and carbon copy recipient(s); state the basis for withholding the information;

and identify the person(s) knowledgeable about the subject matter of the withheld information.

        14.    If any Document referred to in Your responses to these interrogatories was, but is

no longer, in Your possession, custody, or control, state what disposition was made of it and

when.    If any Document referred to in response to these interrogatories has been lost or

destroyed, describe in detail the circumstances of such loss or destruction and identify each lost

or destroyed Document and all Files that contained such Document.

        15.    “Films” refers to the films listed in Exhibit B to Plaintiff’s Complaint.

        16.     “Copyrights In Suit” refers to all alleged copyrights Plaintiff asserts in this

litigation and the respective underlying works, including the alleged copyrights Plaintiff lists in

Exhibit B of Plaintiff’s Complaint.

        17.    If the procedure for answering interrogatories as authorized by Federal Rule of

Civil Procedure 33(d) is used, for each interrogatory and subpart thereof, specify the production

(i.e., Bates) numbers of the specific Document or group of Documents referred to.
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 26 of 63




       18.     This discovery request is continuing in nature. Rule 26(e) of the Federal Rules of

Civil Procedure requires You to correct or supplement Your response if you learn that it was

incomplete or incorrect when made or, although complete and correct when made, is no longer

complete and correct.



INTERROGATORY NO. 1:

        Separately for each of the Copyrights In Suit, describe in detail all factual and legal bases
for Your contention that Doe committed infringement in violation of 17 U.S.C. § 501, including,
without limitation, detailed identification and evidence of any specific alleged acts of
infringement, any basis for alleging or evidence that any alleged act of infringement was
committed by Doe, and the specific nature and extent of any such infringement.


INTERROGATORY NO. 2:

        Separately for each alleged act of infringement, describe in detail all factual and legal
bases for Your contention that You have been harmed or are entitled to recover based on said
acts, including, without limitation, any monetary losses suffered as a result of the alleged
infringement(s); any lost profits or revenues suffered as a result of Defendant’s alleged
infringement; any lost customer subscriptions; and an identification of any Documents that
support your contentions.


INTERROGATORY NO. 3:

       Separately for each of works underlying the Copyrights-in-Suit, state the basis for Your
claim of ownership of the copyright in the work.


INTERROGATORY NO. 4:

        Separately for each of the Copyrights-in-Suit, describe the market value for the
underlying work, including but not limited to any evidence of market value; sales and
subscription revenue that is attributable to the work; requests to license the underlying work; and
any licensing fees attributable to the work.
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 27 of 63




INTERROGATORY NO. 5:

        Separately for each of the Copyrights-in-Suit, identify all demands or assertions of
infringement involving the Copyright-in-Suit and the outcome of the assertion, including,
without limitation, any demand letters or lawsuits in which You have asserted the Copyright In
suit was infringed, and the status or disposition of any lawsuit (including dismissals, settlements,
licenses, damages, judgments, and injunctions).


INTERROGATORY NO. 6:

        Separately for each of the Copyrights-in-Suit, identify any income generated or damages
awarded in whole or in part from Your assertions of infringement in the Copyright through both
demand letters and lawsuits, including without limitation, (a) any recoveries, settlements, or
payments received as a result of assertions of infringement involving any of the Copyrights In
Suit; and (b) the amount of payments or other income generated in whole or in part by any of the
Copyrights In Suit (including any settlements, recovery, or potential settlement or recovery from
any other suit in which any Copyright in Suit had been or is asserted); (c) licenses or other
agreements concerning the use of the Copyrights in Suit; and (d) any non-commercial or royalty-
free usages of the Copyrights in Suit.


INTERROGATORY NO. 7:

        For each of the Films, identify in detail for the past three (3) years each location,
platform, media, or environment in which You have, directly or indirectly, posted, displayed,
distributed, made available for distribution, reproduced, offered for sale, or offered for license
the Film.


INTERROGATORY NO. 8:

        State all factual and legal bases for Your contention that Defendant’s alleged
infringement was willful within the meaning of 17 U.S.C. § 504.


INTERROGATORY NO. 9:

       Identify all persons, parties, and entities with a financial interest in this litigation and
describe the financial interest in detail, including identification of all relevant witnesses and
agreements with said parties, persons, and entities.
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 28 of 63




INTERROGATORY NO. 10:

        Identify all persons, parties, and entities involved in the monitoring, discovery, and
investigation of the alleged infringement in this case. Your answer should include the start date
of Your relationship with the person, party, or entity; the length and nature of Your relationship
with the person, party or entity; and sufficent contact information for each person, party, or
entity.


INTERROGATORY NO. 11:

        Describe in detail any policy, practice, or custom You have implemented and maintained
related to enforcement of the Copyrights-in-Suit or Your other copyrighted works.


INTERROGATORY NO. 12:

        Describe in detail any policy, practice, or custom You have implemented and maintained
related to protecting Your copyrighted works from infringement including but not limited to
methods and tools used to detect, discourage, and prevent infringement.


INTERROGATORY NO. 13:

       Describe all times You, Your agents, Your representatives, or other affiliated party or
person accessed or attempted to access any computer network, device, or system associated with
IP address 70.121.72.191. Your answer should include the date and time of such access or
attempted access, the person(s) involved, the purpose of accessing or attempting to access the
network, and any data or documents accessed, copied, or received during any access.


INTERROGATORY NO. 14:

       Describe in detail all factual basis for your contention that Defendant Doe “is a habitual
and persistent BitTorrent user.”


INTERROGATORY NO. 15:

        Describe in detail all factual basis for your contention that “IPP connected, over a course
of time, with Defendant who was using [IP address 70.121.72.191]. . . .”
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 29 of 63




INTERROGATORY NO. 16:

        Identify each Person who participated in or supplied information used in answering any of
Defendant’s interrogatories, and for each such Person, identify the number of the interrogatory that
the Person participated in answering or supplied information in support of.




Dated April 9, 2020                                          By:

                                                               /s/ JT Morris
                                                             JT Morris
                                                             Texas State Bar No. 24094444
                                                             jt@jtmorrislaw.com
                                                             Ramzi Khazen
                                                             Texas State Bar No. 24040855
                                                             ramzi@jtmorrislaw.com
                                                             JT Morris Law, PLLC
                                                             1105 Nueces Street, Suite B
                                                             Austin, Texas 78701
                                                             Tel: 512-717-5275
                                                             Fax: 512-582-2948

                                                             Attorneys for Defendant John Doe
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 30 of 63




                                 CERTIFICATE OF SERVICE

       I certify that on April 9, 2020, a true and correct copy of the foregoing was served by

email on Plaintiff’s counsel:

                                Paul Beik
                                paul@beiklaw.com



                                                     /s/ JT Morris
                                                   JT Morris
                    Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 31 of 63
                                                                                                                                 Exhibit C
JT Morris

From:                     paul beiklaw.com <paul@beiklaw.com>
Sent:                     Friday, May 8, 2020 9:13 AM
To:                       JT Morris
Subject:                  Re: 5 19-cv-834 WTX40 - Expert deadlines



Thank you for pointing out the holiday and confirming the 26th is fine with Defendant. Memorial day comes
early this year and I did not realize it.

Paul S. Beik
Beik Law Firm, PLLC
8100 Washington Avenue, Suite 1000
Houston, Texas 77007
Tel: (713) 869‐6975
Fax: (713) 868‐2262
paul@beiklaw.com



From: JT Morris <jt@jtmorrislaw.com>
Sent: Thursday, May 7, 2020 5:51 PM
To: paul beiklaw.com <paul@beiklaw.com>
Subject: RE: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

Paul,

To clarify things earlier rather than later, the 25th is a holiday. The 26th is fine with Defendant.

JT Morris
JT Morris Law, PLLC
Tel: (512) 717-5275
Fax: (512) 582-2948
jt@jtmorrislaw.com

jtmorrislaw.com

NOTICE OF CONFIDENTIALITY:

The information contained in and transmitted with this e-mail may by confidential and/or subject to the ATTORNEY-CLIENT and ATTORNEY WORK
PRODUCT PRIVILEGE. It is intended only for the individual or entity designated in the e-mail. If you are not the intended recipient, please take notice
that any disclosure, copying, distribution or use of the contents of this electronic transmission or any accompanying documents is prohibited. If you have
received this e-mail in error, please notify the sender by reply immediately.


From: paul beiklaw.com <paul@beiklaw.com>
Sent: Thursday, May 7, 2020 4:15 PM
To: JT Morris <jt@jtmorrislaw.com>
Subject: Re: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

Thank you

Paul S. Beik
                                                                            1
                    Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 32 of 63

Beik Law Firm, PLLC
8100 Washington Avenue, Suite 1000
Houston, Texas 77007
Tel: (713) 869‐6975
Fax: (713) 868‐2262
paul@beiklaw.com



From: JT Morris <jt@jtmorrislaw.com>
Sent: Thursday, May 7, 2020 4:12 PM
To: paul beiklaw.com <paul@beiklaw.com>
Subject: RE: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

Paul,

That’s fine. Thanks.

JT

JT Morris
JT Morris Law, PLLC
Tel: (512) 717-5275
Fax: (512) 582-2948
jt@jtmorrislaw.com

jtmorrislaw.com

NOTICE OF CONFIDENTIALITY:

The information contained in and transmitted with this e-mail may by confidential and/or subject to the ATTORNEY-CLIENT and ATTORNEY WORK
PRODUCT PRIVILEGE. It is intended only for the individual or entity designated in the e-mail. If you are not the intended recipient, please take notice
that any disclosure, copying, distribution or use of the contents of this electronic transmission or any accompanying documents is prohibited. If you have
received this e-mail in error, please notify the sender by reply immediately.


From: paul beiklaw.com <paul@beiklaw.com>
Sent: Thursday, May 7, 2020 3:05 PM
To: JT Morris <jt@jtmorrislaw.com>
Subject: Re: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

JT,

My client has been ill and unable to work for the past two weeks. Unfortunately, she does not show signs of
improvement yet. Could we agree on an extension for Plaintiff to respond to your discovery requests until
May 25, 2020? Please let me know as soon as possible. Thank you,

Paul S. Beik
Beik Law Firm, PLLC
8100 Washington Avenue, Suite 1000
Houston, Texas 77007
Tel: (713) 869‐6975
Fax: (713) 868‐2262
paul@beiklaw.com
                                                                            2
                    Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 33 of 63




From: JT Morris <jt@jtmorrislaw.com>
Sent: Monday, April 13, 2020 5:45 PM
To: paul beiklaw.com <paul@beiklaw.com>
Subject: RE: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

Thank you, I’ll file in the morning.

JT Morris
JT Morris Law, PLLC
Tel: (512) 717-5275
Fax: (512) 582-2948
jt@jtmorrislaw.com

jtmorrislaw.com

NOTICE OF CONFIDENTIALITY:

The information contained in and transmitted with this e-mail may by confidential and/or subject to the ATTORNEY-CLIENT and ATTORNEY WORK
PRODUCT PRIVILEGE. It is intended only for the individual or entity designated in the e-mail. If you are not the intended recipient, please take notice
that any disclosure, copying, distribution or use of the contents of this electronic transmission or any accompanying documents is prohibited. If you have
received this e-mail in error, please notify the sender by reply immediately.


From: paul beiklaw.com <paul@beiklaw.com>
Sent: Monday, April 13, 2020 3:17 PM
To: JT Morris <jt@jtmorrislaw.com>
Subject: Re: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

JT,

The proposed Joint Motion and proposed Order are acceptable. You have my permission to sign my name
electronically. Thank you,

Paul S. Beik
Beik Law Firm, PLLC
8100 Washington Avenue, Suite 1000
Houston, Texas 77007
Tel: (713) 869‐6975
Fax: (713) 868‐2262
paul@beiklaw.com




From: JT Morris <jt@jtmorrislaw.com>
Sent: Monday, April 13, 2020 11:36 AM
To: paul beiklaw.com <paul@beiklaw.com>
Cc: Ramzi Khazen <ramzi@jtmorrislaw.com>
Subject: RE: 5 19‐cv‐834 WTX40 ‐ Expert deadlines


                                                                            3
                    Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 34 of 63

Thank you Paul. Attached is a draft motion and proposed order. Please let me know if you have any suggested changes.

JT

JT Morris
JT Morris Law, PLLC
Tel: (512) 717-5275
Fax: (512) 582-2948
jt@jtmorrislaw.com

jtmorrislaw.com

NOTICE OF CONFIDENTIALITY:

The information contained in and transmitted with this e-mail may by confidential and/or subject to the ATTORNEY-CLIENT and ATTORNEY WORK
PRODUCT PRIVILEGE. It is intended only for the individual or entity designated in the e-mail. If you are not the intended recipient, please take notice
that any disclosure, copying, distribution or use of the contents of this electronic transmission or any accompanying documents is prohibited. If you have
received this e-mail in error, please notify the sender by reply immediately.


From: paul beiklaw.com <paul@beiklaw.com>
Sent: Thursday, April 9, 2020 3:12 PM
To: JT Morris <jt@jtmorrislaw.com>
Subject: Re: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

JT,

My client has no objection to moving the expert deadlines as proposed. Thank you,

Paul S. Beik
Beik Law Firm, PLLC
8100 Washington Avenue, Suite 1000
Houston, Texas 77007
Tel: (713) 869‐6975
Fax: (713) 868‐2262
paul@beiklaw.com



From: JT Morris <jt@jtmorrislaw.com>
Sent: Thursday, April 9, 2020 3:09 PM
To: paul beiklaw.com <paul@beiklaw.com>
Subject: RE: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

Hi Paul,

Following up on the below. Let me know.

Thanks,
JT

JT Morris
JT Morris Law, PLLC
Tel: (512) 717-5275
Fax: (512) 582-2948
jt@jtmorrislaw.com
                                                                            4
                    Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 35 of 63

jtmorrislaw.com

NOTICE OF CONFIDENTIALITY:

The information contained in and transmitted with this e-mail may by confidential and/or subject to the ATTORNEY-CLIENT and ATTORNEY WORK
PRODUCT PRIVILEGE. It is intended only for the individual or entity designated in the e-mail. If you are not the intended recipient, please take notice
that any disclosure, copying, distribution or use of the contents of this electronic transmission or any accompanying documents is prohibited. If you have
received this e-mail in error, please notify the sender by reply immediately.


From: JT Morris
Sent: Tuesday, April 7, 2020 11:43 AM
To: paul beiklaw.com <paul@beiklaw.com>
Subject: 5 19‐cv‐834 WTX40 ‐ Expert deadlines

Hi Paul,

Given the restrictions with COVID‐19 and what I expect would be required for expert discovery here, I’m writing to see if
Plaintiff is agreeable to asking the Court to push the expert report deadlines by a couple months, to July 1 and
September 2. It wouldn’t impact any other deadlines, as far as we can tell.

Let me know.

Thanks,
JT



JT Morris
JT Morris Law, PLLC
Tel: (512) 717-5275
Fax: (512) 582-2948
jt@jtmorrislaw.com

jtmorrislaw.com

NOTICE OF CONFIDENTIALITY:

The information contained in and transmitted with this e-mail may by confidential and/or subject to the ATTORNEY-CLIENT and ATTORNEY WORK
PRODUCT PRIVILEGE. It is intended only for the individual or entity designated in the e-mail. If you are not the intended recipient, please take notice
that any disclosure, copying, distribution or use of the contents of this electronic transmission or any accompanying documents is prohibited. If you have
received this e-mail in error, please notify the sender by reply immediately.




                                                                            5
              Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 36 of 63
                                                                                           Exhibit D
JT Morris

From:              paul beiklaw.com <paul@beiklaw.com>
Sent:              Wednesday, May 27, 2020 6:30 PM
To:                JT Morris
Subject:           Plaintiff's Disco Responses



Hi JT,

Per our call yesterday, I'm reaching out to let you know that I'm going to need until tomorrow to serve
Plaintiff's discovery responses. My apologies again on the delay and the courtesy is yours as well if needed on
your end. I'll follow up tomorrow with the responses. Thank you,

Paul S. Beik
Beik Law Firm, PLLC
8100 Washington Avenue, Suite 1000
Houston, Texas 77007
Tel: (713) 869‐6975
Fax: (713) 868‐2262
paul@beiklaw.com




                                                       1
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 37 of 63
                                                                             Exhibit E

                         UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


 MALIBU MEDIA, LLC,                            CASE NO. 5:19-cv-00834-DAE

                    Plaintiff,

 v.

 JOHN DOE,

                     Defendant.


       PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S FIRST
                REQUEST FOR PRODUCTION OF DOCUMENTS
                     TO PLAINTIFF MALIBU MEDIA, LLC

      Plaintiff, MALIBU MEDIA, LLC, pursuant to Fed. R. Civ. P. 34, by and through

undersigned counsel, hereby serves its response to Defendant’s First Request for

Production of Documents to Plaintiff Malibu Media, LLC to Plaintiff served April 9,

2020, as follows:

      PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S
         FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                  TO PLAINTIFF MALIBU MEDIA, LLC

Request for Production 1: All documents concerning the registration of the Films with
the United States Copyright Office, including any applications and deposits submitted to
the Copyright Office for the Films.

Response: Plaintiff will produce the online copyright registrations of the works at issue
in this case. Copies of applications submitted are not in Plaintiff’s possession, custody
or control. Copies of the Films will be provided to Defendant as indicative of the files
submitted to the Copyright Office.

Request for Production 2: All documents and communications concerning Your claim
that you are the exclusive owner in any and all rights to the Films.
                                           1
      Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 38 of 63




Response: The copyright registrations are proof of ownership.                  No other
communications or documents exist responsive hereto.

Request for Production 3: All communications made over the past three years that
You have sent to any search engine or other internet service provider requesting
removal of the Films on the basis of copyright infringement or unauthorized display,
distribution, reproduction, or other use.

Response: Plaintiff objects on the basis that this request is unduly burdensome. Copies
of DMCA take down notices are in the thousands and is unduly burdensome and
irrelevant. If representative samples are desired, Plaintiff will provide same.

Request for Production 4: Please provide copies of DMCA notices sent to each site
hosting the infringing files as identified in Exhibit A to the Complaint.

Response: There are no responsive documents to this. DMCA notices are not sent to
torrent sites as they are hosted outside of the United States and are ignored.

Request for Production 5: All documents and communications sufficient to show any
and all income You have received from selling copies of the Films over the past five (5)
years.

Response: Plaintiff objects on the basis that it seeks information that is neither relevant
nor likely to lead to the discovery of admissible information. Plaintiff objects on the
basis that this request is overly broad and unduly burdensome. Plaintiff does not sell
copies of the films. Plaintiff has paying subscribers to the website. Individual copies of
films are not sold.

Request for Production 6: All documents and communications sufficient to show any
and all income You have received from licensing the Films over the past five (5) years.

Response: Plaintiff objects on the basis that it seeks information that is neither relevant
nor likely to lead to the discovery of admissible information.

Request for Production 7: All documents and communications sufficient to show any
and all income You have received from subscriptions to any online service You provide
or have provided over the past five (5) years.
                                            2
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 39 of 63




Response: Plaintiff objects on the basis that it seeks information that is neither relevant
nor likely to lead to the discovery of admissible information.

Request for Production 8: All documents and communications sufficient to show any
and all statistics and other data related to the number of times paying subscribers or
other authorized paid users of Your website services have viewed the Films through
your online services.

Response: Plaintiff objects on the basis that it seeks information that is neither relevant
nor likely to lead to the discovery of admissible information. And this data is not possible
to obtain, as MM does not have the capabilities to determine which subscriber viewed
which film.

Request for Production 9: All documents and communications sufficient to show the
annual income You have received from cease-and-desist efforts, threatening lawsuits,
and filing lawsuits, including settlements, related to the Films and Your other
copyrighted works over the past five (5) years.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information. Plaintiff
further objects on the basis that this request is overly broad and unduly burdensome.

Request for Production 10: For each of the Copyright-in-Suit, documents and
communications sufficient to show any and all income You have received from cease-
and-desist efforts, threatening lawsuits, and filing lawsuits, including settlements, related
to the Copyright-in-Suit over the past three (3) years.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information. Plaintiff
further objects on the basis that this request is overly broad and unduly
burdensome. Such information is not kept by Plaintiff in the ordinary course of business.

Request for Production 11: All documents and communications related to any and all
places You have shared, displayed, distributed, sold, or offered for sale the Films and
Your other copyrighted works on any location, platform, media, or environment.



                                             3
      Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 40 of 63




Response: Plaintiff’s Films are only distributed with consent on its own website. No
such documents exist responsive to this request.

Request for Production 12: All documents and communications relevant to any
financial losses that You claim resulted from any alleged infringement or impermissible
use of the Films and Your other copyrighted works.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information. Plaintiff
seeks solely statutory damages. As such any sustained actual damages are irrelevant.

Request for Production 13: All documents and communications relevant to any
financial losses that You claim resulted from Doe’s alleged infringement of the Films.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information. Plaintiff
seeks solely statutory damages. As such any sustained actual damages are irrelevant.

Request for Production 14: All documents and communications relevant to any
reputational losses or loss of goodwill that You claim result from any alleged
infringement or impermissible use of the Films, including but not limited to Doe’s
alleged infringement.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information. Plaintiff
has not alleged any reputational loss or loss of goodwill in its Amended Complaint.

Request for Production 15: All documents and communications relevant to Your
discovery and monitoring of online uses of the Films, including but not limited to Your
use of software and/or entities to monitor and discover online uses of the Films.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not be
formed. See Fed. R. Civ. P. 26(b)(4)(C). And, all investigators were hired in anticipation
of litigation.
                                             4
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 41 of 63




Request for Production 16: All documents and communications relevant to any
permission You have granted to any individual or organization to use the Films without
monetary compensation.

Response: No such documents exist.

Request for Production 17: All communications and documents relating to Your
employment of or contracting with individuals or entities to investigate, develop,
implement, maintain, or consult on the security of your websites.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not be
formed. See Fed. R. Civ. P. 26(b)(4)(C). And, all investigators were hired in anticipation
of litigation.

Request for Production 18: All communications and documents relating to Your
employment of or contracting with individuals or entities to monitor, discover,
investigate, or consult on any unauthorized reproduction of hard copies or digital copies
of the Films and Your other copyrighted works.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not
be formed. See Fed. R. Civ. P. 26(b)(4)(C). And, all investigators were hired in
anticipation of litigation.

Request for Production 19: All communications and documents relating to Your
employment of or contracting with individuals or entities to create, develop, implement,
maintain, or consult on any technological securities, safeguards, protective measures, or
mechanisms to identify, prevent, discourage, cease, or curtail online infringement of the
Films and Your other copyrighted works.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not be
                                             5
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 42 of 63




formed. See Fed. R. Civ. P. 26(b)(4)(C). And, all investigators were hired in anticipation
of litigation.

Request for Production 20: All communications and documents relating to any efforts
You have taken to identify, prevent, discourage, cease, or curtail the online unauthorized
reproduction of the Films and Your other copyrighted works.

Response: Plaintiff objects on the basis that this request is overly broad and unduly
burdensome.

Request for Production 21: All communications and documents relating to any media
access control (“MAC”) addresses related to the IP address 70.121.72.191.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not be
formed. See Fed. R. Civ. P. 26(b)(4)(C). And, all investigators were hired in anticipation
of litigation.

Request for Production 22: All communications and documents relating to Your
investigation of Doe based on the IP address designated on Exhibit A of Plaintiff’s
Complaint, including but not limited to any investigation(s) performed by IPP
International UG (“IPP”) or Computer Forensics, LLC.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not be
formed. See Fed. R. Civ. P. 26(b)(4)(C). And, all investigators were hired in anticipation
of litigation.

Request for Production 23: All documents and communications related to Your
allegation that Defendant willfully infringed the Copyrights-in-Suit.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not be
                                             6
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 43 of 63




formed. See Fed. R. Civ. P. 26(b)(4)(C). And, all investigators were hired in anticipation
of litigation.

Request for Production 24: All communications and agreements with persons or entities
having a financial interest in the Copyrights-in-Suit, Films, or this litigation.

Response: Ms. Colette Pelissier is the sole owner of Malibu Media, LLC and Malibu
Media, LLC is the sole owner of the Copyrights-In-Suit and Films. There are no
agreements or communications responsive hereto.

Request for Production 25: All documents sufficient to show any display or direct or
indirect distribution of the Films.

Response: Plaintiff objects on the basis that this request is overly broad and unduly
burdensome. Plaintiff avers that its Films are available on its own streaming site.

Request for Production 26: All documents and communications regarding any sale,
offer for sale, assignment, or licensing of the Copyrights-in-Suit.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information.

Request for Production 27: All documents and communications regarding any offer to
purchase or license the Copyrights-in-Suit.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information.

Request for Production 28: All communications and agreements with any third parties
involved in investigating Your assertion of infringement against Doe, including but not
limited to IPP and Computer Forensics, LLC.

Response: Plaintiff does not have sufficient information in its possession, custody or
control   to    answer       this request.    IPP International    UG recorded        the
infringement. Therefore, this request should be directed to IPP. Plaintiff objects on the
                                            7
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 44 of 63




basis that responsive information is protected by the privilege against disclosure of
consulting expert work product and contain information protected from disclosure by the
federal rules, and the request is so broad that a privilege log may not be formed. See Fed.
R. Civ. P. 26(b)(4)(C). Plaintiff objects on the basis that responsive documents are
protected by the privilege against disclosure of work product and contain
communications protected from disclosure by the federal rules, and the request is so
broad that a privilege log may not be formed. See Fed. R. Civ.P. 26(b)(4)(C). All
consulting experts were hired in anticipation of litigation.

Request for Production 29: All documents regarding Your dispute with Genova Capital
and Warmblood Inc.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information.

Request for Production 30: All communications with Genova Capital and Warmblood
Inc. related to Your enforcement of the Copyrights-in-Suit or any other copyrights.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information.

Request for Production 31: All documents that You claim evidence infringement by
Doe or are otherwise related to Doe’s alleged infringement.

Response: The subpoena response providing John Doe’s IP address and his ISP naming
him and his address as the location from which the infringements originated. Plaintiff
will provide a copy of this document.

Request for Production 32: All documents and communications related to IPP’s alleged
interactions with and investigation of IP address 70.121.72.191.

Response: Plaintiff does not have sufficient information in its possession, custody or
control     to     answer      this request.      IPP International    UG recorded      the
infringement. Therefore, this request should be directed to IPP. Plaintiff objects on the
basis that responsive information is protected by the privilege against disclosure of
consulting expert work product and contain information protected from disclosure by the
federal rules, and the request is so broad that a privilege log may not be formed. See Fed.
                                             8
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 45 of 63




R. Civ. P. 26(b)(4)(C). Plaintiff objects on the basis that responsive documents are
protected by the privilege against disclosure of work product and contain
communications protected from disclosure by the federal rules, and the request is so
broad that a privilege log may not be formed. See Fed. R. Civ.P. 26(b)(4)(C). All
consulting experts were hired in anticipation of litigation. Also this is protected, work
product and we will share more as requested by the judge. The infringer has been proven
to have downloaded to his home IP address Malibu Media’s films. When he could have
simply joined the website for $30.

Request for Production 32: All documents and communications regarding Computer
Forensics, LLC’s alleged interactions with and investigation of IP address 70.121.72.191.

Response: Plaintiff does not have sufficient information in its possession, custody or
control to answer this request. IPP International UG recorded the infringement and
Computer Forensics, LLC simply tested IPP International UG’s software to verify it
works as provided for in relevant declarations. Plaintiff objects on the basis that
responsive information is protected by the privilege against disclosure of consulting
expert work product and contain information protected from disclosure by the federal
rules, and the request is so broad that a privilege log may not be formed. See Fed. R. Civ.
P. 26(b)(4)(C). Plaintiff objects on the basis that responsive documents are protected by
the privilege against disclosure of work product and contain communications protected
from disclosure by the federal rules, and the request is so broad that a privilege log may
not be formed. See Fed. R. Civ.P. 26(b)(4)(C). All consulting experts were hired in
anticipation of litigation. Also, information is privileged.

Request for Production 33: All documents and communications regarding any data or
files Malibu, IPP, Computer Forensics, or any other employee, agent, or affiliate of
Malibu accessed or attempted to access from any computer network, computer device, or
computer system associated with IP address 70.121.72.191.

Response: Plaintiff objects on the basis that responsive information is protected by the
privilege against disclosure of consulting expert work product and contain information
protected from disclosure by the federal rules, and the request is so broad that a privilege
log may not be formed. See Fed. R. Civ. P. 26(b)(4)(C). Plaintiff objects on the basis that
responsive documents are protected by the privilege against disclosure of work product
and contain communications protected from disclosure by the federal rules, and the
request is so broad that a privilege log may not be formed. See Fed. R. Civ.P.
26(b)(4)(C). All consulting experts were hired in anticipation of litigation. And
information is privileged.
                                             9
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 46 of 63




Request for Production 34: All documents and communications regarding Malibu’s
decision to investigate of IP address 70.121.72.191 for any alleged infringement of the
Copyrights-in-Suit.

Response: Plaintiff objects on the basis that responsive information is protected by the
privilege against disclosure of consulting expert work product and contain information
protected from disclosure by the federal rules, and the request is so broad that a privilege
log may not be formed. See Fed. R. Civ. P. 26(b)(4)(C). Plaintiff objects on the basis that
responsive documents are protected by the privilege against disclosure of work product
and contain communications protected from disclosure by the federal rules, and the
request is so broad that a privilege log may not be formed. See Fed. R. Civ.P.
26(b)(4)(C). All consulting experts were hired in anticipation of litigation.

Request for Production 35: All documents and communications between Malibu
employees, staff, or agents related to Malibu’s understanding of BitTorrent.

Response: To the best of Malibu Media, LLC’s knowledge, no such documents exist.

Request for Production 36: All documents and communications between Malibu and
any third-party consultant or independent contractor related to Malibu’s understanding of
BitTorrent.

Response: To the best of Malibu Media, LLC’s knowledge, no such documents
exist. Plaintiff objects on the basis that responsive information is protected by the
privilege against disclosure of consulting expert work product and contain information
protected from disclosure by the federal rules, and the request is so broad that a privilege
log may not be formed. See Fed. R. Civ. P. 26(b)(4)(C). Plaintiff objects on the basis that
responsive documents are protected by the privilege against disclosure of work product
and contain communications protected from disclosure by the federal rules, and the
request is so broad that a privilege log may not be formed. See Fed. R. Civ.P.
26(b)(4)(C). All consulting experts were hired in anticipation of litigation.

Request for Production 37: All documents and communications between Malibu
employees related to the availability or other presence of the Films or other Malibu
copyrighted works on BitTorrent.


                                             10
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 47 of 63




Response: No such documents exist.

Request for Production 38: All documents and communications regarding Malibu’s
decision to monitor and investigate BitTorrent for infringing uses of the Films or other
works Malibu purports to own.

Response: No such documents exist.

Request for Production 39: All communications between Malibu and any third-party
consultant or independent contractor related to the availability of the Films or other
Malibu copyrighted works on BitTorrent.

Response: Plaintiff objects on the basis that responsive information is protected by the
privilege against disclosure of consulting expert work product and contain information
protected from disclosure by the federal rules, and the request is so broad that a privilege
log may not be formed. See Fed. R. Civ. P. 26(b)(4)(C). Plaintiff objects on the basis that
responsive documents are protected by the privilege against disclosure of work product
and contain communications protected from disclosure by the federal rules, and the
request is so broad that a privilege log may not be formed. See Fed. R. Civ.P.
26(b)(4)(C). All consulting experts were hired in anticipation of litigation.

Request for Production 40: All documents and communications describing Malibu’s
understanding of access to open, public, and/or unsecured wireless networks.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information. Plaintiff has
hired and retained an expert to with this understanding.

Request for Production 41: All documents and communications describing Malibu’s
understanding of access to closed, private, and/or secured wireless networks.

Response: To the best of Malibu Media, LLC’s knowledge, no such documents exist

Request for Production 42: All affidavits or sworn statements Malibu has submitted to
a court of competent jurisdiction in the past seven (7) years, and all communications
related to the same.
                                             11
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 48 of 63




Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information. Plaintiff
further objects on the basis that obtaining these public documents, which Defendant can
access via PACER, is unduly burdensome.

Request for Production 43: All documents and communications related to Malibu’s
decision to retain, hire, or contract with IPP for investigation of alleged infringements of
Malibu’s works.

Response: Plaintiff is not in possession of any such documents.

Request for Production 44: All documents and communications related to Malibu’s
decision to retain, hire, or contract with Computer Forensics, LLC for investigation of
alleged infringements of Malibu’s works.

Response: Plaintiff is not in possession of any such documents.

Request for Production 45: All documents and communications sufficient to identify
any third-party, other than IPP or Computer Forensics, LLC, that Malibu retained, hired,
or contracted with in the past seven (7) years to monitor, discover, or investigate alleged
infringements of Malibu’s works.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information.

Request for Production 46: Documents and communications sufficient to identify any
amounts Malibu paid over the past five (5) years to IPP, Computer Forensics, LLC, or
any other third-party that Malibu retained, hired, or contracted with to monitor, discover,
or investigate alleged infringements of Malibu’s works.

Response: Plaintiff objects on the basis that this request seeks information that is
neither relevant nor likely to lead to the discovery of admissible information.




                                             12
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 49 of 63




Request for Production 47: All documents and communications related to Malibu’s
knowledge or awareness of the accuracy or inaccuracy of using IP address-based methods
to identify alleged infringers.

Response: Plaintiff objects on the basis that responsive documents are protected by the
privilege against disclosure of work product and contain communications protected from
disclosure by the federal rules, and the request is so broad that a privilege log may not be
formed. See Fed. R. Civ.P. 26(b)(4)(C). All consulting experts were hired in anticipation
of litigation.

Request for Production 48: All documents and communications sufficient to show the
corporate structure of Malibu.

Response: Plaintiff will produce the applicable documents, which consist of the company
operating agreement.

Request for Production 49: All documents and communications sufficient to identify the
officers and employees of Malibu responsible for making decisions related to enforcement
of Malibu’s copyrights.

Response: Plaintiff will produce the applicable documents, which consist of the company
operating agreement.

Request for Production 50: All documents and communications showing any policy,
practice, or custom You have implemented and maintained related to policing and
preventing infringement of Your copyrighted works online.

Response: To the best of Plaintiff’s knowledge, no such documents or communications
exist.

Request for Production 51: All documents and communications identifying any policy,
practice, or custom You have implemented and maintained related to enforcing the
Copyrights-in-Suit or other copyrights You claim to own.

Response: To the best of Plaintiff’s knowledge, no such documents or communications
exist.
                                             13
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 50 of 63




Request for Production 52: All documents and communications identifying any and all
times Malibu has filed a lawsuit for copyright infringement against a John Doe defendant
who Malibu learned it mistakenly identified as the alleged infringer.

Response: Plaintiff objects on the basis that this request is overly broad and unduly
burdensome. Plaintiff avers that it welcomes and considers all exculpatory information
provided by defendants alleged to have infringed its copyrights and will promptly dismiss
any suit found to have been filed against a defendant later determined not to be the actual
infringer.

Request for Production 53: All documents and communications referenced in any
response You provide to Defendant’s Interrogatories.

Response: Plaintiff will provide all documents and things as set forth herein.

Request for Production 54: All documents and communications that You intend to rely
upon at trial to support your allegations and claims.

Response: Plaintiff objects on the basis that responsive information is protected by the
privilege against disclosure of consulting expert work product and contain information
protected from disclosure by the federal rules, and the request is so broad that a privilege
log may not be formed. See Fed. R. Civ. P. 26(b)(4)(C). Plaintiff objects on the basis that
responsive documents are protected by the privilege against disclosure of work product
and contain communications protected from disclosure by the federal rules, and the
request is so broad that a privilege log may not be formed. See Fed. R. Civ.P.
26(b)(4)(C). All consulting experts were hired in anticipation of litigation.

Dated: May 28, 2020                               Respectfully submitted,

                                                  By: /s/ Paul S. Beik
                                                  PAUL S. BEIK
                                                  Texas Bar No. 24054444
                                                  BEIK LAW FIRM, PLLC
                                                  8100 Washington Ave., Suite 1000
                                                  Houston, TX 77007
                                                  T: 713-869-6975
                                             14
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 51 of 63




                                                     F: 713-868-2262
                                                     E-mail: paul@beiklaw.com
                                                     ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

       I hereby certify that, on May 28, 2020, the foregoing was served via email to the following

counsel of record:

       JT Morris Texas
       jt@jtmorrislaw.com
       Ramzi Khazen
       ramzi@jtmorrislaw.com
       JT Morris Law, PLLC
       1105 Nueces Street, Suite B
       Austin, Texas 78701

                                                     By: /s/ Paul S. Beik
                                                     PAUL S. BEIK




                                                15
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 52 of 63
                                                                                            Exhibit F

                            UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


  MALIBU MEDIA, LLC,                                    CASE NO. 5:19-cv-00834-DAE

                       Plaintiff,

  v.

  JOHN DOE,

                        Defendant.


           PLAINTIFF’S RESPONSES AND OBJECTIONS TO DEFENDANT’S
                       FIRST SET OF INTERROGATORIES
        Plaintiff, MALIBU MEDIA, LLC, responds to Defendant’s First Set of Interrogatories

served April 9, 2020, as follows:

                                       GENERAL STATEMENT

        1. By responding to any request, Plaintiff does not concede the materiality of the subject to

which they refer. Plaintiff’s responses are made expressly subject to and without waiting or

intending to waive any questions, or objections as to the competency, relevancy, materiality,

privilege, or admissibility as evidence or for any other purpose, or any of the documents or

information produced, or of the subject matter thereof, in any proceeding, including the trial of

this action or any subsequent proceeding.

        2. Plaintiff objects to these Interrogatories to the extent that they demand documents and/or

information which are protected by the attorney-client or work-product privilege, or which

constitute material prepared for litigation purposes.

        3. Inadvertent production of any document or information which is privileged, was

prepared in anticipation of litigation, or is otherwise immune from discovery, shall not constitute
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 53 of 63




a waiver of any privilege or of another ground for objecting to discovery with respect to that

document or any or the document, or its subject matter, or the information contained therein, or of

the defendant’s right to object to the use of any such document or the information contained therein

during any proceeding in this litigation or otherwise.

       4. Defendant objects in the entirety to any request for information or production from

entities not represented by Paul Beik or the Beik Law Firm, PLLC in this specific action.

       5. Plaintiff is continuing to search for information responsive to Defendant’s requests and

therefore reserves the right to supplement the response to each request with additional information,

if and when such information becomes available to Plaintiff’s counsel. Plaintiff also reserves the

right to object to the future disclosure of any such information.

       1. Separately for each of the Copyrights In Suit, describe in detail all factual and legal bases

for Your contention that Doe committed infringement in violation of 17 U.S.C. § 501, including,

without limitation, detailed identification and evidence of any specific alleged acts of

infringement, any basis for alleging or evidence that any alleged act of infringement was

committed by Doe, and the specific nature and extent of any such infringement.

       Response – the Amended Complaint sets forth the legal and factual basis for bringing the

instant suit against Defendant. Plaintiff otherwise objects to this discovery request on the grounds

responsive information is protected by the privilege against disclosure of work product and contain

communications protected from disclosure by the federal rules, including that they seek the mental

impression of counsel and consulting experts, and the request is so broad that a privilege log may

not be formed. See Fed. R. Civ. P. 26(b).

       2. Separately for each alleged act of infringement, describe in detail all factual and legal

bases for Your contention that You have been harmed or are entitled to recover based on said acts,
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 54 of 63




including, without limitation, any monetary losses suffered as a result of the alleged

infringement(s); any lost profits or revenues suffered as a result of Defendant’s alleged

infringement; any lost customer subscriptions; and an identification of any Documents that support

your contentions.

       Response – Plaintiff’s Amended Complaint sets for the legal and statutory grounds for

which Plaintiff seeks statutory damages. Plaintiff does not allege, and indeed, does not need to

allege, any specific loss of revenue or profits in order to seek statutory damages.

       3. Separately for each of works underlying the Copyrights-in-Suit, state the basis for Your

claim of ownership of the copyright in the work.

       Response – Plaintiff’s claim of ownership is based on the certificates of registration, which

are being made available to Defendant.

       4. Separately for each of the Copyrights-in-Suit, describe the market value for the

underlying work, including but not limited to any evidence of market value; sales and subscription

revenue that is attributable to the work; requests to license the underlying work; and any licensing

fees attributable to the work.

       Response – Plaintiff objects to this interrogatory on the basis that it seeks information that

is neither relevant nor likely to lead to the discovery of admissible information. Plaintiff avers that

copyright infringement is a strict liability offense and statutory damages are available under the

Copyright Act.

       5. Separately for each of the Copyrights-in-Suit, identify all demands or assertions of

infringement involving the Copyright-in-Suit and the outcome of the assertion, including, without

limitation, any demand letters or lawsuits in which You have asserted the Copyright In suit was

infringed, and the status or disposition of any lawsuit (including dismissals, settlements, licenses,
        Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 55 of 63




damages, judgments, and injunctions).

        Response - Plaintiff objects to this interrogatory on the basis that it seeks

information outside of the instant action that is neither relevant nor likely to lead to the discovery

of admissible information. Plaintiff further objects on the basis that the information requested is

unduly burdensome and overly broad.

        6. Separately for each of the Copyrights-in-Suit, identify any income generated or damages

awarded in whole or in part from Your assertions of infringement in the Copyright through both

demand letters and lawsuits, including without limitation, (a) any recoveries, settlements, or

payments received as a result of assertions of infringement involving any of the Copyrights In Suit;

and (b) the amount of payments or other income generated in whole or in part by any of the

Copyrights In Suit (including any settlements, recovery, or potential settlement or recovery from

any other suit in which any Copyright in Suit had been or is asserted); (c) licenses or other

agreements concerning the use of the Copyrights in Suit; and (d) any non-commercial or royalty-

free usages of the Copyrights in Suit.

        Response - Plaintiff objects to this interrogatory on the basis that it seeks information that

is neither relevant nor likely to lead to the discovery of admissible information. Plaintiff further

objects on the basis that the information requested is unduly burdensome and overly broad.

        7. For each of the Films, identify in detail for the past three (3) years each location,

platform, media, or environment in which You have, directly or indirectly, posted, displayed,

distributed, made available for distribution, reproduced, offered for sale, or offered for license the

Film.

        Response – Films are only available with consent on X-Art.com

        8. State all factual and legal bases for Your contention that Defendant’s alleged
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 56 of 63




infringement was willful within the meaning of 17 U.S.C. § 504.

       Response – Plaintiff’s factual and legal bases are contained within the Amended

Complaint.

       9. Identify all persons, parties, and entities with a financial interest in this litigation and

describe the financial interest in detail, including identification of all relevant witnesses and

agreements with said parties, persons, and entities.

       Response      – Plaintiff’s   counsel, Malibu     Media,    LLC,    and    its   sole   owner,

Colette Pelissier, have financial interests. The engagement agreement between counsel and

Plaintiff is protected by attorney-client privilege.

       10. Identify all persons, parties, and entities involved in the monitoring, discovery, and

investigation of the alleged infringement in this case. Your answer should include the start date of

Your relationship with the person, party, or entity; the length and nature of Your relationship with

the person, party or entity; and sufficient contact information for each person, party, or entity.

       Response – IPP International UG. Contact information will be provided to counsel.

       11. Describe in detail any policy, practice, or custom You have implemented and

maintained related to enforcement of the Copyrights-in-Suit or Your other copyrighted works.



       Response – Plaintiff enforces its copyrights against blatant infringers. There is no

established policy, practice or custom in place. Plaintiff reviews evidence provided by its

investigator, IPP, prior to bringing suit against any infringer.

       12. Describe in detail any policy, practice, or custom You have implemented and

maintained related to protecting Your copyrighted works from infringement including but not

limited to methods and tools used to detect, discourage, and prevent infringement.
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 57 of 63




       Response - Plaintiff protects its films by filing federal copyright registration

applications. IPP recorded the infringements of those films. Any request related to the methods

and tools should be directed to IPP.

       13. Describe all times You, Your agents, Your representatives, or other affiliated party or

person accessed or attempted to access any computer network, device, or system associated with

IP address 70.121.72.191. Your answer should include the date and time of such access or

attempted access, the person(s) involved, the purpose of accessing or attempting to access the

network, and any data or documents accessed, copied, or received during any access.

       Response - Plaintiff does not have sufficient information in its possession, custody or

control to answer this interrogatory. IPP recorded the infringement. Therefore, this request should

be directed to IPP.

       14. Describe in detail all factual basis for your contention that Defendant Doe “is a habitual

and persistent BitTorrent user.”

       Response – Defendant’s IP address was captured downloading numerous Films over a

period of extended time. This constitutes a habitual infringer. Defendant is the owner of the IP

address. Evidence of this will be provided by IPP International UG.

       15. Describe in detail all factual basis for your contention that “IPP connected, over a

course of time, with Defendant who was using [IP address 70.121.72.191]. . . .”

       Response – IPP International, UG captured, recorded and verified the connection. They

are in possession of the evidence establishing such.

       16. Identify each Person who participated in or supplied information used in answering any

of Defendant’s interrogatories, and for each such Person, identify the number of the interrogatory

that the Person participated in answering or supplied information in support of.
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 58 of 63




       Response – Colette Pelissier and counsel.

       Dated: May 28, 2020                  Respectfully submitted,

                                            By: /s/ Paul S. Beik
                                            PAUL S. BEIK
                                            Texas Bar No. 24054444
                                            S.D. Tex. ID No. 642213
                                            BEIK LAW FIRM, PLLC
                                            8100 Washington Ave., Suite 1000
                                            Houston, TX 77007
                                            T: 713-869-6975
                                            F: 713-868-2262
                                            E-mail: paul@beiklaw.com

                                            ATTORNEY FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

       I hereby certify that, on May 28, 2020, the foregoing was served via email to the following

counsel of record:

       JT Morris Texas
       jt@jtmorrislaw.com
       Ramzi Khazen
       ramzi@jtmorrislaw.com
       JT Morris Law, PLLC
       1105 Nueces Street, Suite B
       Austin, Texas 78701
                                                    By: /s/ Paul S. Beik
                                                    PAUL S. BEIK
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 59 of 63
                                                                                        Exhibit G
                                                                       Ramzi Khazen | Of Counsel
                                                                       ramzi@jtmorrislaw.com

1105 Nueces Street, Suite B, Austin, Texas 78701 | 512-717-5275



June 4, 2020

VIA E-MAIL

Paul S. Beik
8100 Washington Ave., Suite 1000
Houston TX 77007
paul@beiklaw.com


RE: Malibu Media v. John Doe, Case No. 5:19-cv-00834 (W.D. Tex.)

Dear Paul:

       I am writing regarding Malibu’s deficient interrogatory responses and document
production responses. As a general matter, Malibu’s discovery responses are severely lacking.
There is no excuse for this after we provided you with two extensions of time to serve your
responses.

       Please supplement your responses as soon as possible and no later than June 15, 2020. If
you would like to discuss or are unwilling to produce the requested discovery, please advise as to
your availability to meet and confer.


                              Malibu Deficient Interrogatory Responses

        Interrogatory No. 1. Malibu’s reference to its pleadings fails to provide any “factual and
legal bases” for Malibu’s infringement contentions. Malibu pleads only copying of “constituent
elements” of its alleged works, without defining them or how they leally pertain to a copyrighted
work. Malibu fails to address any cognizable act of infringement under the copyright code in fact
or in law.

        If the Amended Complaint is all Malibu intends to rely upon at trial, state this. Otherwise,
please provide a full response.


         Interrogatory No. 2, Malibu’s reference to its complaint as seeking statutory damages
fails to respond regarding “all factual and legal bases” for its contentions regarding alleged harm
to Malibu or entitlement to recovery. Even as Malibu concedes that it is unable to articulate any
theory by which it may have suffered harm, it pleads only that “constituent elements” of the
relevant works were transferred and fails to explain how uploading these “elements” may form a
basis for a claim of statuory damages. Similarly, Malibu has failed state any claim as to why
statutory damages, if any, should not be limited to the minimum allowed by law.
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 60 of 63




        What is more, the Western District of Texas considers a number of factors when assessing
statutory damages, including the value of the copyright and the losses sustained by the plaintiff.
Adobe Sys. v. SKH Sys., No. A-17-CA-018-SS, 2017 U.S. Dist. LEXIS 212321, at *20 (W.D. Tex.
Dec. 27, 2017). And Malibu’s alleged harm is also relevant to Doe’s pending counterclaim for
abuse of process and his defenses of copyright misuse, excessive damages, estoppel, unclean
hands, and fair use.

        In short, details about alleged losses, including lost revenue and subcriptions, are relevant
to the claims and defenses here. Please supplement your response.


        Interrogatory No. 3. Malibu responds that its claim of ownership is “based on the
certificates of registration.” As Malibu should know, a certificate of registration is distinct from
ownership. Ownership is defined according to Chapter 2 of the Copyright Act. Chapter 4 is
distinct and pertains to registrations. Please supplement your response.

         Interrogatory No. 4. Malibu refuses to provide any response regarding the market value
of its alleged works, ostensibly because copyright infringement is a “strict liability offense.” This
misstates the law. The claim of infringement and Doe’s infringement-related defenses are
dependent on the market and market value of the alleged works as enumerated in 17 U.S.C. §107.

       Moreover, the significant award of statutory damages sought in the complaint can hardly
be based on a work with no market and no claim or theory of value. As we explain above, a work’s
market value is relevant to statutory damages. And again, it is also relevant to Doe’s abuse of
process counterclaim and his affirmative defenses of copyright misuse, excessive damages,
estoppel, unclean hands, and fair use. Please supplement your response.

        Interrogatory Nos. 5 and 6. Doe seeks information related to Malibu’s other assertions
of infringement and income/damages related to the asserted works. Once again, this information
is relevant to infringement and damages, in addition to Doe’s abuse of process counterclaims and
unclean hands and other equitable defenses and considerations surrounding the asserted works.
Malibu responds only with boilerplate objections of relevancy and undue burden, despite their
centrality to the case. Please supplement your response.

        Interrogatory No. 7. Doe seeks discovery regarding Malibu’s direct or indirect use,
distribution, and licensing of the film. Malibu’s response that its alleged content is only available
with consent at X-Art.com is inadequate, since the interrogatory is not limited to “availability with
consent.” And even this qualified answer does not appear to be complete or correct given the uses
by Malibu’s consultants alleged in the complaint.

       Please be prepared during our meet-and-confer to address the deficient response, as well
as whether Malibu is inappropriately blocking relevant discovery related to its hired consultants.




                                                 2
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 61 of 63




        Interrogatory No. 8. With respect to Interrogatory No. 8 regarding Malibu’s allegation of
willfulness, Malibu provides no answer, referring only to its complaint. But the complaint fails to
address willful infringement. Please supplement your response.


        Interrogatory No. 10. Malibu responds only that certain parties have financial interests,
but fails to provide any information on what those interests are, or what persons or entities carry a
financial interest in the named entity. The identify of those individuals and their financial interests
are relvent to Doe’s equitable defenses and his abuse of process counterclaim. Please supplement
your response to include the information requested.

        Interrogatory Nos. 11-15. Malibu responds regarding its enforcement policies, customs,
and practices that it enforces against “blatant” infringement, and reviews evidence from IPP.
Given the thousands of lawsuits levied by Malibu, the response that Malibu has no practices related
to enforcement or that filing registrations constitutes the sum of its copyright protection practices
is obviously deficient.

        Malibu’s response to Interrogatory 12 also redirects to IPP. That Malibu’s response
regarding “methods and tools” is to refer Doe to IPP is remarkable since IPP are Malibu’s hired
consultants upon which Malibu’s entire case is ostensibly based. This information is in Malibu’s
control. And if Malibu is testifying that it is ignorant of IPP’s “methods and tools,” that is an
admission that Malibu lacked a legal or informed basis on which to file this suit and ask the Court
for a subpoena to Doe’s ISP. We will pursue Rule 11 sanctions immediately if Malibu’s continues
to take this position.

        Malibu should similarly be able to discuss its response to Interrogatory 13 regarding
accessing the computer networks of others. Merely claiming ignorance of the alleged act that is
the basis of Malibu’s entire case and directing Doe to IPP is inappropriate and concerning for at
least the reasons stated above, including that these acts are illegal in Texas. Interrogatories 14 and
15 similarly redirect Doe to Malibu’s consultants regarding the central allegations of the case.

         Malibu has control over the information from IPP and and its other consultants, as
evidenced by the affidaivts Malibu filed in its motion to subpoena Doe’s ISP. There is no
justification for withholding the information requested in these interrogatories. Please supplement
your response accordingly.

                                              ________

        Malibu’s objections to interrogatories are also inappropriate. For example, Malibu
purports to object to production from entities “not represented by Paul Beik or the Beik Law Firm
in this specific action.” Please explain what authority, if any, Malibu purports to justify its
objection, and the entities to which Malibu is referring, including whether it is shielding documents
held by IPP or any of its other consultants on this basis. The Federal Rules are clear that Malibu
must produce the requested, relevant information that is within its possession, custody, or control.
Withholding such information based whether an entity is represented by a particular law firm is
innappropriate, and Malibu must withdraw this objection.

                                                  3
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 62 of 63




                     Malibu Deficient Requests for Production Responses

        Malibu responds with boilerplate objections and bare statements denying production for
reasons that have no basis in the Federal Rules or otherwise. Malibu’s responses suggest that it is
not taking its discovery obligations seriously. Among the examples:

           •   RFP 2: Malibu refuses to produce any evidence that it owns the asserted works
               because “The copyright registrations are proof of ownership.” This misstates the
               law, as shown above.

           •   RFP 3: Malibu claims it uses legal methods of enforcement, but admits it will not
               produce the vast majority of takedown notices it claims to have made because it
               would supposedly be too burdensome to do so.

           •   RFP 5 through 9: Malibu outright refuses to provide any evidence regarding income
               from the copyrights at issue, either from its website or through enforcement efforts
               and actions. As explained above, the ostensible market value and commercial
               nature of the asserted works are central issues to the claims and defenses in this
               case. Malibu cannot withhold this information.

           •   RFP 11: Malibu provides only a qualified answer regarding its own distribution of
               the asserted works, as addressed above with respect to Interrogatory No. 7. Malibu
               does not even agree to provide copies of its website, let alone any other locations.

           •   RFP 12-14: Malibu refuses to produce any information on financial or reputational
               losses incurred as a result of the alleged infringement. But as explained, this is
               highly relevant to the claims and defenses in this case.

           •   RFP 20: Malibu apparently is refusing to produce documents relating to efforts
               Malibu has made to discourage unauthorized reproduction. This information is
               relevant to Doe’s abuse of process counterclaims and equitable defenses.

           •   RFP 24: Malibu agains refuses to provide information about financial interests in
               this litigation, just like with Interrogatory 10.

           •   RFP 26: Malibu is refusing to provide information regarding licenses or offers to
               license the asserted works or even whether the works have been assigned. This is
               central to Malibu’s claims as well as Doe’s abuse of process claim and his equitable
               defenses.

           •   Malibu makes at least twenty unfounded claims of privilege to shield documents
               related to the central allegations of its complaint, claiming that any information
               shared with IPP or other consultants is privileged, and then further even refuses to
               produce a privilege log. Malibu’s claims of a common privilege and anticipation
               of litigation against entities unknown to it are dubious at best, and, in any event, are

                                                  4
       Case 5:19-cv-00834-DAE Document 31-1 Filed 07/17/20 Page 63 of 63




               waived given that Malibu shared bits and pieces of this information as the basis for
               its complaint and its motion

               Malibu also refuses to proiduce any documentary evidence to support its bogus
               claim of willful infringement on the basis of privilege.

               Malibu even refuses to produce raw technical information central to its
               infringement claim such as information related to the MAC address of the computer
               connected to the internet using the accused IP address. Raw information is not
               privileged, and Malibu must produce it.

               Doe has the right to test the veracity of the claims that ostensibly subjected him/her
               to a lawsuit. Doe also has the right to investigate whether Malibu or anyone it paid
               seeded the internet with the asserted works. And Doe has the right to investigate
               how, according to the allegations in Malibu’s complaint, Malibu paid and induced
               others to access his/her computer for an illegal purpose in violation of Texas law.
               Malibu cannot refuse to produce this information behind unjustified claims of
               privilege and work product.

                                            _________

        This letter intended to address certain of Malibu’s pressing deficiencies. It should not be
treated as exhaustive and is not intended to imply that any unaddressed response is adequate.

       Again, Malibu’s responses overall show disregard for its discovery obligations under the
Federal Rules. Within 14 days of this letter, please serve supplemental responses or state that
Malibu will not do so. If you wish to meet-and-confer on any of the issues raised above, we are
happy to do so. But if Malibu does not cure its discovery deficienes without delay, will we ask the
Court to compel and seek any other relief available.

       I look forward to speaking with you.


                                                                     Regards,




                                                                     Ramzi Khazen




                                                 5
